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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT of CALIFORNIA

                                 CRIMINAL MINUTES

Judge:            William Alsup                          Time in Court:      1:42 - 2:09
                                                                             = 27 minutes
Date:             September 12, 2017
Case No.          14-cr-00175-WHA-1

United States of America              v.         Pacific Gas and Electric Company

                                             Defendant
                                            Present
                                            Not Present
                                            In Custody

U.S. Attorney                                            Defense Counsel
Hallie Hoffman                                           Reid Schar

Monitor
Chris Keegan


Deputy Clerk: Tracy Geiger                               Reporter: Belle Ball

Probation Officer: Aaron Tam for Jennifer Hutchings

                                      PROCEEDINGS

REASON FOR HEARING:          Status Conference re: Community Service Opportunity
RESULT OF HEARING:           Court and counsel addressed possibility of defendant allocating a
                             portion of the community service hours to provide aid in Florida.

                             City Administrator for San Bruno, Connie Jackson addressed the
                             Court.




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